         Case 22-90032 Document 218 Filed in TXSB on 05/10/22 Page 1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                   §
                                                         §                  Case No. 22-90032
GWG HOLDINGS, INC., et al.,1                             §
                                                         §                  Chapter 11
         Debtor.                                         §

             LIMITED OBJECTION OF L BOND MANAGEMENT LLC TO
         UNOPPOSED MOTION FOR RELEIF FROM THE AUTOMATIC STAY
       TO (A) APPOINT LEAD PLAINTIFFS IN SECURITIES CLASS ACTION, (B)
        PERMIT LEAD PLAINTIFFS TO SERVE AND ENFORCE THIRD-PARTY
                 SUBPOENAS, AND (C) TAKE RELATED ACTIONS
                             [Relates to ECF # 201]

         L Bond Management LLC (“LBM”) hereby files this Limited Objection (“Objection”) to

the Unopposed Motion for Relief from the Automatic Stay to (A) Appoint Lead Plaintiffs in

Securities Class Action, (B) Permit Lead Plaintiffs to Serve and Enforce Third-Party Subpoenas,

and (C) Take Related Actions (the “Motion”) filed on behalf of Thomas Horton and Frank Moore

(“Movants”).

         1.      The Debtors commenced these chapter 11 cases (the “Chapter 11 Cases”) on

April 20, 2022 (the “Petition Date”), filing voluntary petitions for relief pursuant to chapter 11 of

title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy Code”).

         2.      Prior to the Petition Date, plaintiffs, Shirin Bayati and Mojan Kamalvand filed a

Securities Class Action lawsuit (the “Class Action”) in the United States District Court for the

Northern District of Texas (the “Class Action Court”) alleging claims against the Debtors and

certain non-debtor co-defendants on behalf of a putative class of bond investors (the “Putative

Class”). Also prior to the Petition Date, LBM filed a Motion to Intervene in the Class Action
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The location
of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N. St. Paul
Street, Suite 2650, Dallas, Texas 75201. Further information regarding the Debtors and these chapter 11 cases is
available at the website of the Debtors’ proposed claims and noticing agent: https://donlinrecano.com/gwg.
          Case 22-90032 Document 218 Filed in TXSB on 05/10/22 Page 2 of 5




seeking to intervene in that matter as agent for twenty-four bondholders collectively holding

approximately $366.9 million of L Bonds (over 22% of the total outstanding bonds issued by the

Debtors).

         3.       As of the Petition Date, no lead plaintiff had been designated in the Class Action

nor had the Putative Class been certified. Likewise, LBM’s motion to intervene remained

pending.

         4.       Following the Petition Date, notwithstanding the imposition of the automatic stay,

Movants filed their Motion of Thomas Horton and Frank Moore for Appointment as Lead

Plaintiff and Approval of Their Selection of Lead Counsel (the “Lead Plaintiff Motion”) in the

Class Action.

         5.       On May 6, 2022, Movants filed their Motion in these Chapter 11 Cases. Despite

being styled as an “unopposed” motion, the Movants did not seek, nor did they obtain consent

from LBM as to the relief sought therein.

                                      LIMITED OBJECTION

         6.       The Movants frame their relief sought in this Court as narrow – seeking

retroactive modification of the automatic stay to permit the filing and prosecution of the Lead

Plaintiff Motion and the ability to conduct certain third-party discovery in connection with the

Class Action. See Motion, Proposed Order, p. 2 [ECF # 201-2]. In return, Movants have agreed

that the Class Action should be stayed as to all defendants. See Motion, Exhibit A – Agreed Joint

Statement on Automatic Stay [ECF # 201-1]. Nevertheless, Movants’ actions indicate a belief

that the granting of the Lead Plaintiff Motion, rather than the simple ministerial action

represented, will result in a significant vesting of representative authority far beyond the limited

relief actually being sought from this Court.




                                                  2
4856-9073-1038, v. 9
          Case 22-90032 Document 218 Filed in TXSB on 05/10/22 Page 3 of 5




          7.      Thus, while LBM does not per se object to Movants’ requested relief, LBM does

have concerns regarding Movants’ actions and their representations to the Class Action Court

regarding the nature or need for such relief as relates to these Chapter 11 Cases. Specifically, in

support of the Lead Plaintiff Motion, Movants have argued that:

          The L Bond holders are creditors in the bankruptcy whose interests will be
          advanced by certain and centralized leadership—both during the bankruptcy and
          after the automatic stay is lifted. See 11 U.S.C. § 362(d) (setting out grounds for
          relief from stay); In re Timbers of Inwood Forest Assocs., Ltd., 808 F.2d 363,
          370-71 (5th Cir. 1987), aff’d, 484 U.S. 365 (1988) (discussing circumstances that
          may warrant lifting of automatic stay). To that end, Movants’ counsel have
          retained experienced bankruptcy counsel to appear in the GWGH bankruptcy and
          assist in protecting the rights and interests of L Bond holders, including their right
          to prosecute this action.

Memorandum of Law in Support of Motion of Thomas Horton and Frank Moore for Appointment

as Lead Plaintiff and Approval of their Section of Lead Counsel, p. 9 [ECF # 37-1], Bayati, et al.

v. GWG Holdings, Inc., et al., Civ. Action No. 3:22-CV-00410-B in the United States District

Court for the Northern District of Texas. Further, in an Agreed Joint Statement on Automatic

Stay (the “Joint Statement”) to the Class Action Court, the Movants represent that relief from the

stay to permit entry of an order granting the Lead Plaintiff Motion is necessary “so that the

interest of putative class members may be properly represented in [the Class Action Court] and

the Debtor’s bankruptcy proceedings.” See Motion, Exhibit B – Joint Statement, p. 2 [ECF #

201-1].

          8.      Despite Movants’ characterization to the Class Action Court, designation of the

Movants as lead plaintiffs without more is insufficient to bestow such representative authority

upon Movants in these Chapter 11 Cases. See In re FIRSTPLUS Fin., Inc., 248 B.R. 60, 67

(Bankr. N.D. Tex. 2000) (in denying a motion to allow a class proof of claim, “A putative class

representative is not, nor can he be transformed by the court into, an authorized agent within the

purview of Bankruptcy Rule 3001(b).”). In non-bankruptcy matters, courts have recognized that


                                                    3
4856-9073-1038, v. 9
          Case 22-90032 Document 218 Filed in TXSB on 05/10/22 Page 4 of 5




the granting of a lead plaintiff designation under 15 U.S.C. § 78u-4(a)(3) is limited in purpose

and does not establish such party as the Rule 23 class representative. See Gluck v. CellStar

Corp., 976 F. Supp. 542, 547 (N.D. Tex. 1997) (holding that lead plaintiff designation was

preliminary in nature and without prejudice to future challenges by defendants regarding Rule

23(a) requirements during class certification); In re Oxford Health Plans, Inc. Sec. Litig., 199

F.R.D. 119, 125 (S.D.N.Y. 2001) (noting distinction between Rule 23 class fiduciary and a “lead

plaintiff”).

         9.       As the Oxford Health court explained,

         A lead plaintiff is not synonymous with a class representative, and in the ordinary
         course of litigation the class representative will not appear on the scene until long
         after the lead plaintiff. No lead plaintiff is compelled to serve as a class
         representative. While the PSLRA defines the qualifications and selection process
         for lead plaintiff, the class representative is selected not pursuant to the PSLRA,
         but pursuant to Rule 23. The Court declines at this time to re-open the lead
         plaintiff process. As the Court has stated, “the class representative is going to
         control the case. He is the Rule 23 fiduciary, not the lead plaintiffs.” In re Oxford,
         191 F.R.D. at 378.

In re Oxford Health Plans, Inc. Sec. Litig., 199 F.R.D. 119, 125 (S.D.N.Y. 2001) quoting In re

Oxford Health Plans, Inc. Sec. Litig., 191 F.R.D. 369, 378 (S.D.N.Y. 2000).

         10.      Thus, while LBM does not oppose the limited modification of the automatic stay

as reflected in the proposed order (to allow the filing and prosecution of the Lead Plaintiff

Motion only), LBM does object to the Movants’ incorrect claim of agency in these Chapter 11

Cases as a lead plaintiff of a yet-to-be certified putative class.2

         11.      As such, LBM respectfully requests that any order entered upon the Motion not

include Movants’ improper designation of the same as “Unopposed” and that such order

specifically reserve the right of any party-in-interest, including LBM, to challenge the Movants’

2
 LBM’s concerns regarding this improper claim of agency are heightened by the fact that the United States Trustee
has formed an official bondholder committee that includes both of the proposed lead plaintiffs, even though it
excludes L Bond Management, the party controlling a 22.5% economic interest in the L Bonds.



                                                        4
4856-9073-1038, v. 9
          Case 22-90032 Document 218 Filed in TXSB on 05/10/22 Page 5 of 5




representative capacity vis-à-vis any other alleged members of the putative class or the holders of

L Bonds in general in these Chapter 11 Cases.

Respectfully submitted on this 10th day of May, 2022.

                                             OKIN ADAMS LLP

                                             By:     /s/ David L. Curry, Jr.
                                                    Matthew S. Okin
                                                    Texas Bar No. 00784695
                                                    Email: mokin@okinadams.com
                                                    David L. Curry, Jr.
                                                    Texas Bar No. 24065107
                                                    Email: dcurry@okinadams.com
                                                    1113 Vine Street, Suite 240
                                                    Houston, Texas 77002
                                                    Tel: (713) 228-4100
                                                    Fax: (346) 247-7158

                                             ATTORNEYS FOR L BOND MANAGEMENT
                                             LLC




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2022, a true and correct copy of the foregoing pleading
was served via the Court’s CM/ECF system to all parties consenting to service through the same.

                                             By:     /s/ David L. Curry, Jr.
                                                    David L. Curry, Jr.




                                                5
4856-9073-1038, v. 9
